Case 2:15-cv-05666-KSH-CLW Document 47 Filed 09/27/17 Page 1 of 2 PageID: 256

 Case 2:15-cv-05666-KSH-CLW Document 46 Filed 09/25/17 Page 1 of 2 PagelD: 254



  Joshua W. Denbeaux #013871996
  Denbeaux & Denbeaux
  366 Kinderkamack Road
  Westwood, New Jersey 07675
  (201) 664-8855 / Fax: (201) 666-8589
  Attorneys for Plaintiff Eric Abramson

                       UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


    ERIC ABRAMSON                      Case No. 2:15-cv-05666-KSH-CLW


         Plaintiff,                    STIPULATION OF DISMISSAL


               vs.



    THE BANK OF NEW YORK MELLON
    F/K/A THE BANK OF NEW YORK,
    AS TRUSTEE FOR THE
    CERTIFICATEHOLDERS CWALT,
    INC., ALTERNATIVE LOAN TRUST
    2006-34 MORTGAGE PASS-
    THROUGH CERTIFICATES;
    RESIDENTIAL CREDIT
    SOLUTIONS, INC.; BANK OF
    AMERICA, N.A. JOHN DOES I-X,

         Defendants.



        The matter in difference in the above-entitled action


   having been amicably adjusted by and between the parties, it is

   hereby stipulated and agreed that the same be dismissed with

   prejudice and without cost against all parties.

                                     Denbeaux &   Denbeaux
                                     Attorneys for Plaintiff
                                     Eric Abramson




   Dated: September 25, 2017         /s/Joshua W. Denbeaux
                                     By: Joshua W. Denbeaux, Esq,
Case 2:15-cv-05666-KSH-CLW Document 47 Filed 09/27/17 Page 2 of 2 PageID: 257

 Case 2;15-cv-05666-KSH-CLW Document 46 Filed 09/25/17 Page 2 of 2 PagelD: 255



                                     Winston & Strawn LLP
                                     Attorneys for Defendant
                                     Bank of America, N.A.



  Dated: September 25, 2017          /s/ Heather Elizabeth Saydah
                                     By: Heather Elizabeth Saydah, Esq.




                                     Goodwin Procter LLP
                                     Attorneys for Defendants
                                     Bank of New York Mellon     Trustee
                                     and Residential Credit Solutions,
                                     Inc.




  Dated: September 25, 2017          /s/ Todd A. Boock
                                     By: Todd A. Boock, Esq.


                          cLsresd           9pnln
               Go
